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    Frequently Asked Questions
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    SECTION 1 - GENERAL INFORMATION ABOUT THE GULF COAST
    CLAIMS FACILITY




    1. What is the Gulf Coast Claims Facility?

    After the Deepwater Horizon incident on April 20, 2010 (the “Spill”), BP was
    designated by the U.S. Coast Guard as a “responsible party” under the Oil Pollution
    Act of 1990 (“OPA”). Pursuant to OPA, BP as a responsible party was required to
    establish a procedure for the payment or settlement of claims for costs and damages
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incurred as a result of the Spill. BP established such a procedure, but subsequently, on
June 16, 2010, the White House issued a press release announcing that (1) BP would
replace its claims facility with a new and different claims facility which is now called
the Gulf Coast Claims Facility (“GCCF”), and (2) BP would establish a $20 billion
escrow fund to fulfill its claims processing obligations under OPA. Kenneth R.
Feinberg was selected to be the third-party administrator of the GCCF.

The GCCF accepts and where possible resolves claims of Individuals and Businesses
for costs and damages incurred as a result of the Spill. In fulfilling these obligations,
the GCCF and Mr. Feinberg as Claims Administrator are acting for and on behalf of
BP in order to fulfill BP’s statutory obligations as a responsible party under OPA;
however, the GCCF and Mr. Feinberg exercise their own judgment with respect to the
evaluation and payment of claims.

No one at the GCCF can give you personal legal advice or advise you regarding
settlement of any claims, including whether to file a claim with the GCCF or the
worth of any claim you may have. No one at the GCCF can represent you. You have
the right to consult with an attorney of your choosing prior to accepting any settlement
from the GCCF or signing a release of legal rights. If you wish to consult a lawyer
you should do so. If you would like to consult with an attorney and you cannot afford
one, free legal help is available for the GCCF Interim or Final Claims Process,
through a network of nonprofit civil legal service organizations in Alabama, Florida,
Louisiana, Mississippi and Texas. The free legal services program is being
administered by the Mississippi Center for Justice, a nonprofit, public interest law
firm, whose funding for this purpose will be provided by BP. See Section Two below
for more information. The free legal services program will not be providing assistance
for litigation or claims filed with the Coast Guard National Pollution Funds Center.

2. How is the GCCF different from the previous BP claims facility?

The GCCF and the Claims Administrator have been given the responsibility to make
their own judgments regarding the evaluation and payment of claims, and in particular
what, if anything, would be a fair and reasonable payment or offer of payment to a
claimant. BP no longer makes those judgments.

3. I already submitted a claim to BP. What should I do?

If you have previously filed a claim with BP, all of the information you included in
your claim to BP as well as the documents you submitted have been transferred to the
GCCF. Although the GCCF now has the documents and information you submitted to
BP, you must complete a GCCF Claim Form to apply for any payments from the
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GCCF if you have not done so before now. You will be assigned a new GCCF
Claimant Identification Number.

4. Can I still file a claim with BP?

No. As of August 23, 2010, all claims must be filed with the GCCF. The GCCF has
replaced the BP claims process. Individuals and Businesses should no longer present
claims to BP.

5. English is not my first language. Are there translation services available?

You can call the Toll Free Number 1-800-916-4893 and ask for assistance in another
language. In addition, translators in the following languages are available at these
Claims Site Offices:

   1. For Spanish:

      Biloxi, MS
      Clearwater, FL
      Cut Off, LA
      Grand Isle, LA
      Gretna/Belle Chasse, LA
      Gulf Shores, AL
      Houma, LA
      Lafitte, LA
      Mobile, AL
      New Orleans East, LA
      Panama City Beach, FL
   2. For Vietnamese:

      Biloxi, MS
      Cut Off, LA
      Gretna/Belle Chasse, LA
      Houma, LA
      Lafitte, LA
      Mobile, AL
      New Orleans East, LA
   3. For Khmer:

      Gretna, LA

6. Who are the staff members who work in the Claims Site Offices?
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Staff members at the Claims Site Offices include professionals and other community
representatives. All staff members at the Claims Site Offices are subcontractors of the
GCCF. BP provides the funding for the expenses of the administration of the GCCF,
including compensation for GCCF subcontractors.

7. What should I do if I have information about a potentially fraudulent claim?

You should call the Department of Justice National Center for Disaster Fraud hotline
number: 877-623-3423.

8. What should I do if I move?

If you move, you should contact us as soon as possible to ensure that you receive all
communication and/or payments to which you are entitled. You must complete the
GCCF Change of Address Request form, which is available for download by
clicking here. As set forth in the Change of Address Request form, you must also
provide proof of your change of address in order for the GCCF to process your
request. The quickest way to reach us is by emailing your change of address request
to info@gccf-claims.com. You may also fax your request to 1-866-682-1772, or mail
your request to:

GULF COAST CLAIMS FACILITY
P.O. BOX 9658
Dublin, OH 43017-4958

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SECTION 2 - ATTORNEY REPRESENTATION




9. Do I need to hire a lawyer to help me with my claim?

You do not have to hire a lawyer to submit a claim to the GCCF. You have the right to
be represented by a lawyer of your choosing and to consult with that lawyer before
accepting any settlement or signing a release of legal rights. If you are represented by
a lawyer, the GCCF will communicate with your lawyer rather than directly with you.
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The GCCF also provides access to free legal assistance that is independent of the
claims process.

10. I would like to have a lawyer represent me in the GCCF claims process, but I
cannot afford one. Are there any free legal services available?

Yes. Free legal help is available for the GCCF Interim or Final Claims Process,
through a network of nonprofit civil legal service organizations in Alabama, Florida,
Louisiana, Mississippi and Texas. The free legal services program is being
administered by the Mississippi Center for Justice, a nonprofit, public interest law
firm. The free legal services program will not be providing assistance for litigation or
claims filed with the Coast Guard National Pollution Funds Center.

If you would like to request free legal assistance, you should contact the legal services
organizations in your state.

The contact information for each state is:

Alabama 866-456-4995, press 6
Services provided by Legal Services Alabama

Florida 855-299-1337
Services provided by Legal Services of North Florida and North Florida Center for
Equal Justice

Louisiana 504-355-0970 if you are in Orleans or Jefferson Parish. Outside those
areas, call 800-310-7029. Or, e-mail your name, telephone number and a brief
description of the help you are seeking to:oil.spill.info@laciviljustice.org.
Services provided by Louisiana Civil Justice Center, Louisiana Justice
Institute, Moving Forward Gulf Coast, The Pro Bono Project of New Orleans,
and Southeast Louisiana Legal Services

Mississippi 888-725-5423
Services provided by Mississippi Center for Justice, Mississippi Center for Legal
Services and Mississippi Volunteer Lawyers Project

Texas 800-733-8394
Services provided by Lone Star Legal Aid

You can also request free legal help by sending an email to LegalAssistance@GCCF-
Claims.com or calling the toll-free number 1-800-916-4893 and asking for the Legal
Services Escalation Team.
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11. Who is the Mississippi Center for Justice?

The Mississippi Center for Justice is a nonprofit, public interest law firm committed to
advancing racial and economic justice. Supported and staffed by attorneys,
community leaders and volunteers, the Center develops and pursues strategies to
combat discrimination and poverty statewide. To provide the claims assistance, the
Center contracts with eleven other nonprofit legal services organizations in the five
Gulf States.

12. How are the free legal services from the Mississippi Center for Justice being
paid?

The funding for this program comes from BP. However, the Mississippi Center for
Justice and the nonprofit civil legal service organizations providing the free legal help
have no other connection to BP or GCCF. The funding does not affect the advice that
a lawyer at any of the legal services organizations gives a claimant. Neither GCCF nor
BP will interfere with the independent, professional judgment of any of the legal
services attorneys.

13. I am represented by a lawyer and I want to file a claim. What should I do?

If you are currently represented by a lawyer in connection with any claim you believe
you may have against BP, you should not submit a claim until you have conferred
with your lawyer about the decision to submit it and about your answers to its
questions. If you then choose to submit a claim, you should have your lawyer submit
the claim for you. The claim form requests contact information for your lawyer. After
receipt of such contact information we will respond directly to him or her.

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SECTION 3 - CLOSING THE EMERGENCY ADVANCE PAYMENT
PROGRAM




14. Can I still apply for an Emergency Advance Payment?
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No. From August 23, 2010, through November 23, 2010, Claimants could submit
claims to the GCCF for Emergency Advance Payments to receive emergency relief
for damages caused by the Spill. The deadline to file a claim for an Emergency
Advance Payment passed on November 23, 2010. It is too late now to apply for an
Emergency Advance Payment. Claimants who suffered losses or injuries as a result of
the Spill can now apply for a Final Payment or an Interim Payment.

15. What if I applied for an Emergency Advance Payment and have not heard
about the outcome of that claim?

If you have not heard about the final outcome on your EAP claim, you will hear soon.
The GCCF is finishing the evaluation of all the EAP claims soon.

16. What if I applied for an Emergency Advance Payment after the November
23, 2010 deadline?

Such a claim is late and will not be processed. If you want to seek any benefits now
from the GCCF, you must apply for a Full Review Final Payment or an Interim
Payment.

17. What types of payments are available now?

A Claimant who has been paid an Emergency Advance Payment has the option to
receive a Quick Payment from the GCCF of $5,000 for Individual Claimants and
$25,000 for Business Claimants without having to submit any more documents or
undergoing any more claims review.

Any Claimant who suffered losses or injuries as a result of the Spill can now apply
for:

   1. A Full Review Final Payment Claim, to be paid, if eligible, for all past losses
      caused by the Spill and all future losses caused by the Spill.
   2. An Interim Payment Claim, for all past losses caused by the Spill.

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SECTION 4 - INFORMATION ON QUICK PAYMENT FINAL CLAIMS
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18. What is a Quick Payment Final Claim?

A Quick Payment Final Claim is the opportunity for a Claimant who has been paid an
Emergency Advance Payment by the GCCF to sign a Release and within 14 days be
paid $5,000 if an Individual Claimant or $25,000 if a Business Claimant without
having to submit any more documents or go through any more claims review.

In addition, a Claimant found eligible for an Interim Payment, even though never paid
an Emergency Advance Payment, will also have the opportunity to accept a Quick
Payment.

19. Who is eligible for a Quick Payment?

A Claimant who has been paid an Emergency Advance Payment from the GCCF for
any claim type (other than loss of subsistence), can receive a Quick Payment. In
addition, a Claimant found eligible for an Interim Payment for any claim type (other
than loss of subsistence), will also have the opportunity to accept a Quick Payment.

20. What if my Emergency Advance Payment claim has not been finished?

The GCCF will finish the review of all Emergency Advance Payment claims and will
notify all Claimants of the outcome on their claims. If you are found eligible and get
paid an Emergency Advance Payment, you have the opportunity to submit a Quick
Payment Claim.

21. What if I was paid by BP but have not been paid by the GCCF?

You are not eligible for a Quick Payment. You can receive a Quick Payment only if
you were paid an Emergency Advance Payment by the GCCF or an Interim Payment
by the GCCF.

22. How do I apply for a Quick Payment?

You have to fill out, sign and send back to the GCCF a Quick Payment Claim Form.
You must also sign the Release and Covenant Not to Sue. You should not elect the
Quick Payment Final Claim process unless you are willing to accept the fixed
payment of $5,000 for individuals and $25,000 for businesses and to sign a full
release of liability.
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23. How do I get a Quick Payment Claim Form?

If you have been paid an Emergency Advance Payment, the GCCF will mail you a
packet containing the Quick Payment Claim Form and the Release and Covenant Not
to Sue that must be signed to receive a Quick Payment. The GCCF will pre-fill the
Quick Payment Claim Form with your name and address. If you have been paid an
Emergency Advance Payment, you may download the Quick Payment Claim Form
and the Release and Covenant Not to Sue from the GCCF website or you may also go
to a Claims Site Office and have the Quick Payment Claim Form and the Release and
Covenant Not to Sue printed for you.

If your address has changed since your Emergency Advance Payment was paid, be
sure that the GCCF has your correct current mailing address.

If you do not receive that packet from the GCCF in the mail, you may call the GCCF
Toll Free Number 1-800-916-4893 or email us at info@gccf-claims.com to ask that
the packet be sent to you.

24. Do I have to submit any more documents on my damages to be paid a Quick
Payment?

No. All you have to do is send in a signed Quick Payment Claim Form and Release
and Covenant Not to Sue. You do not have to submit any more documents on your
losses or damages.

25. Do I have to sign a Release to be paid a Quick Payment?

Yes. The Quick Payment Final Claim option requires you to release and waive any
claims that you have or may have in the future against BP and all other potentially
responsible parties with regard to the Spill or to submit any claim for payment to the
National Pollution Funds Center, the Coast Guard office responsible for evaluating
and approving Oil Pollution Act claims, or in court. The Quick Payment Claim Form
contains important information to read before signing the Release and Covenant Not
to Sue. You have the right to consult with an attorney of your choosing before
accepting any settlement or signing a release of legal rights.

26. Who has to sign the Quick Payment Claim Form and the Release?

Individual Claimants must personally sign the Quick Payment Claim Form and the
Release and Covenant Not to Sue. If the Individual Claimant is married, the
Claimant’s spouse also must sign the Release and Covenant Not to Sue. If an
Individual Claimant is deceased, is a legal minor under the law of the state or
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jurisdiction where the Claimant lives, or is not legally competent to sign, the
Claimant’s authorized legal representative must sign. That representative must also
submit a copy of the document issued by a court or other official that appointed the
representative to act on behalf of the Claimant, or must sign an Affidavit required by
the GCCF to show authority to act. See Section VII of the Gulf Coast Claims Facility
Required Documents for what is required to prove the authority to act.

The authorized officer or other representative of a Business Claimant must personally
sign the Quick Payment Claim Form and the Release and Covenant Not to Sue. If the
business is a sole proprietorship owned by a married individual, or if the business is
jointly owned by a married couple, the individual’s spouse also must sign the Quick
Payment Claim Form and the Release and Covenant Not to Sue.

27. I want to file my own claim for my own damages. In order for my spouse to
receive a payment for his or her Quick Payment Final Claim, I have to sign the
Release. Am I releasing my right to file my own separate claim for my own
damages?

No. Your signature on the Release applies to your spouse’s claim (or to the claim of a
business owned by your spouse or a business jointly owned by you and your spouse),
not to a separate claim you might have.

28. Can I change anything in the Release?

No. If you mark through or strike out anything in the Release and Covenant Not to
Sue, or you add any language to it, the GCCF cannot accept it and cannot pay you a
Quick Payment.

29. How long will it take for me to get a Quick Payment?

The GCCF will send you your payment within 14 days after the GCCF receives your
properly completed Quick Payment Claim Form and properly signed Release and
Covenant Not to Sue.

30. How long do I have to apply for a Quick Payment?

If you have received an Emergency Advance Payment or an Interim Payment, you
may submit a Quick Payment Final Claim at any time before the close of the GCCF
Program on August 22, 2013.

31. Will any deductions be taken out of my Quick Payment before it is sent to
me?
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Your $5,000 Individual Quick Payment or $25,000 Business Quick Payment will not
be reduced for any prior payments to you by BP or by the GCCF, or by any amounts
you have received from unemployment compensation or any insurance or other
program. The only deductions that will be made from a Quick Payment will be for any
legally authorized liens, garnishments or other attachments against you that the GCCF
has received.

32. Where will my Quick Payment be sent?

The GCCF will send Quick Payments by a check mailed to you. You will indicate in
the Quick Payment Claim Form where your check is to be sent.

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SECTION 5 - INFORMATION ON FULL REVIEW FINAL PAYMENT
CLAIMS




33. If I am not eligible for a Quick Payment or decide not to choose the Quick
Payment option, what kind of payments can I seek now from the GCCF?

Any Claimant who suffered losses or injuries as a result of the Spill can now apply to
the GCCF for:

   1. A Full Review Final Payment Claim, to be paid, if eligible, for all past losses
      caused by the Spill and all future losses caused by the Spill.
   2. An Interim Payment Claim, to be paid once a quarter, if eligible, for all past
      losses caused by the Spill. A Claimant found eligible for an Interim Payment
      will also have the opportunity to accept a Quick Payment or a Final Payment
      instead.

34. What is a Full Review Final Payment?

If you do not choose or are not eligible for the Quick Payment Final Claim option,
you may elect to submit a Full Review Final Payment Claim to receive a lump sum
single payment for all documented losses and damages, both past and future, caused
to you by the Spill.
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35. Who can apply for a Full Review Final Payment?

Any Claimant who suffered losses or injuries as a result of the Spill can now apply for
a Full Review Final Payment Claim, to be paid, if eligible, for all past losses caused
by the Spill and all future losses caused by the Spill. You can still submit a Full
Review Final Payment Claim even if: (a) you received payments from BP or from the
GCCF on an Emergency Advance Payment Claim; (b) you submitted an Emergency
Advance Payment Claim that was denied (other than as an excluded Government, Oil
Rig Moratorium claim or a claim for property damage that occurred during the
Vessels of Opportunity Program); or (c) you have not previously asserted a claim to
BP or to the GCCF.

36. What types of claims can I submit on a Full Review Final Payment Claim?

If you suffered damages or injuries caused by the Spill and are eligible to apply for a
Full Review Final Payment, you can submit a Full Review Final Payment Claim for
the same types of claims for which Claimants could seek Emergency Advance
Payments: Removal and Clean Up Costs, Damage to Real or Personal Property, Lost
Earnings or Profits, Loss of Subsistence Use of Natural Resources (Individuals only),
or Physical Injury or Death (Individuals only).

37. How do I apply for a Full Review Final Payment?

You have to fill out, sign and send back to the GCCF a Full Review Final Payment
Claim Form, along with documents to support your claim if you have not previously
submitted those documents. If you previously submitted an Emergency Advance
Payment Claim to the GCCF, the GCCF will mail you a packet containing the Full
Review Final Payment Claim Form. If you do not get that packet, see Section 8 –
How to File a Full Review Final Payment Claim or an Interim Payment Claim for the
steps on how to get the Full Review Final Payment Claim Form and how to submit it
to the GCCF.

38. I have already submitted a Final Claim Form. Do I have to submit a new
one?

No. You do not need to submit a new Full Review Final Payment Claim Form, though
you can do so if you would like to change anything about your claim. You should
review the Gulf Coast Claims Facility Document Requirements and you should
submit any and all required documents that you have not previously submitted. You
do not need to resubmit documentation or information that you have already
submitted.
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39. What kind of losses will be paid on a Full Review Final Payment Claim?

A Full Review Final Payment will include all past losses or injuries caused to you by
the Spill and any future losses or injuries you may incur, if any, as a result of the Spill.
The Full Review Final Payment Claim evaluation and determination will include a
review of the calculation of any previous Emergency Advance Payments. If
appropriate, the GCCF will adjust the calculation and include any additional
compensation due as part of the Final Payment Offer.

40. Do I have to submit documents to be paid a Full Review Final Payment?

Yes. To be considered for a Full Review Final Payment, you must submit documents
that prove the losses or injuries you claim you suffered as a result of the Spill. A Full
Review Final Payment Claim requires complete substantiation and documentation of
all damages sustained in the past. You may choose to provide documents that support
amounts claimed as future damages as a result of the Spill, including documents
demonstrating the manner in which such future damages have been calculated, the
period of time for which they are claimed, and any expert reports or other analyses on
which the calculation is based. The GCCF will perform a complete analysis of all
existing and newly submitted documentation to compute, determine and pay all past
and future damages. The GCCF will rely upon any documentation you submit and
analyses and documentation provided to the GCCF by experts retained by the GCCF
to determine the damages, if any. See the Gulf Coast Claims Facility Document
Requirements list for details on the documents required for each Claim Type you can
assert on a Full Review Final Payment Claim. If you previously submitted documents
to the GCCF, you do not have to send them in again, but you must make sure that you
have submitted everything required by the Gulf Coast Claims Facility Document
Requirements list and you must submit any new documents for any time period not
covered by what you previously submitted.

41. What if my claim is missing any documents needed to prove my Full Review
Final Payment Claim?

The GCCF will perform a complete analysis of all existing and newly submitted
documentation to compute, determine and pay all past and future damages. If the
GCCF does not have all the documents from you needed to be able to evaluate your
claim, the GCCF will send you a deficiency notice telling you what is missing and
giving you a period of time to submit those documents.

42. How will future damages be determined on a Full Review Final Payment
Claim?
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Claimants who submit a Full Review Final Payment Claim may submit documents
that support amounts claimed as future damages as a result of the Spill, including
documents demonstrating the manner in which such future damages have been
calculated, the period of time for which they are claimed, and any expert reports or
other analyses on which the calculation is based. The GCCF will rely upon any
documentation you submit and analyses and documentation provided to the GCCF by
experts retained by the GCCF to determine the damages, if any, payable to you as
future damages for losses or injuries caused by the Spill.

43. The Full Review Final Payment Claim information says that the claim
includes any claim for future damages. How far into the future can I claim
damages?

Your Full Review Final Payment Claim includes ALL of your future damages, if any.
If you have any documentation or information regarding any future damages you may
incur due to the Spill you should include all of this documentation and information. In
order to receive a payment of your Full Review Final Payment Claim you will have to
sign a Release that releases all of your past and future damages in exchange for a
liquidated amount.

44. Will any deductions be taken out of my Full Review Final Payment?

Yes. The following amounts will be deducted from your Full Review Final Payment.

   1. Any prior payments to you by BP, by the Coast Guard, or by the GCCF for
      losses due to the Spill.
   2. If you make a claim for Lost Individual Earnings, any amounts you have
      received from unemployment compensation, as severance pay or any other
      employment benefit since the Spill.
   3. On any Lost Income claim from an Individual Claimant or a Business
      Claimant, amounts you have received since the Spill from any insurance or
      other program as replacement income.
   4. Payments from insurance for the losses on injuries for which you seek benefits
      on Removal and Clean Up Costs, Damage to Real or Personal Property, Loss of
      Subsistence Use of Natural Resources, or Physical Injury or Death.
   5. Amounts needed to pay any liens, garnishments or other attachments against
      you that the GCCF has received.

However, amounts you have received from charities will not be deducted from your
Full Review Final Payment.

45. If I qualify, how will I get the offer on my Full Review Final Payment Claim?
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Your Final Payment Offer will be an offer of a lump sum amount for all past and
future damages based upon specific documentation received and expert analysis of
future damages. You will have an opportunity to discuss your Final Payment Offer
with a member of the GCCF Senior Evaluation Team and/or a member of the
Accounting Team. This Final Payment Offer will be valid for 30 days. If you have not
accepted this Final Payment Offer during the 30-day period, the GCCF will re-
evaluate any later submission or request for a Final Payment Offer you may make to
reflect additional information and less uncertainty, regarding your damages.

46. Do I have to sign a Release to be paid a Full Review Final Payment?

Yes. To be paid on a Full Review Final Payment Claim, you will have to release and
waive any claims that you have or may have in the future against BP and all other
potentially responsible parties with regard to the Spill or to submit any claim for
payment to the National Pollution Funds Center, the Coast Guard office responsible
for evaluating and approving Oil Pollution Act claims, or in court. The Full Review
Final Payment Claim Form contains a sample of that Release and Covenant Not to
Sue. If you qualify for a Full Review Final Payment, the GCCF will send you a Final
Payment Offer based on the GCCF’s review and evaluation of the Full Review Final
Payment Claim, along with a Release and Covenant Not to Sue for you to sign if you
accept the Final Payment Offer. If you accept the Final Payment Offer, you must sign
the Release and Covenant Not to Sue and return it to the GCCF. A separate Release
will be required for Claimants who have received a Final Payment Offer for claims for
physical injury or death. You have the right to consult with an attorney of your
choosing before accepting any settlement or signing a release of legal rights.

47. Who has to sign the Release on a Full Review Final Payment Claim?

Individual Claimants must personally sign the Release and Covenant Not to Sue. If
the Individual Claimant is married, the Claimant’s spouse also must sign the Release
and Covenant Not to Sue. If an Individual Claimant is deceased, is a legal minor
under the law of the state or jurisdiction where the Claimant lives, or is not legally
competent to sign, the Claimant’s authorized legal representative must sign. That
representative must also submit a copy of the document issued by a court or other
official that appointed the representative to act on behalf of the Claimant. If such
documents have not been issued, the representative must sign an Affidavit required by
the GCCF to show authority to act. See Section VII of the Gulf Coast Claims Facility
Required Documents for what is required to prove the authority to act.

The authorized officer or other representative of a Business Claimant must personally
sign the Release and Covenant Not to Sue. If the business is a sole proprietorship
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owned by a married individual, or if the business is jointly owned by a married
couple, the individual’s spouse also must sign the Release and Covenant Not to Sue.

48. I want to file my own claim based on my own damages. In order for my
spouse to receive payment for his/her Full Review Final Claim I have to sign the
Release. Am I releasing my right to file my own separate claim based on my own
damages?

No. Your signature on the Release applies to your spouse’s claim (or to the claim of a
business owned by your spouse or a business jointly owned by you and your spouse),
not to a separate claim you might have.

49. Can I change anything in the Release?

No. If you mark through or strike out anything in the Release and Covenant Not to
Sue, or you add any language to it, the GCCF cannot accept it and cannot pay you a
Final Payment.

50. How long will it take for me to get a Full Review Final Payment?

The GCCF will fully evaluate and determine your Full Review Final Payment Claim
within 90 days after receipt of your substantiated claim. You will be notified of the
amount of the Final Payment Offer or of any missing documents that are necessary to
be able to evaluate the claim within this 90-day period. Claimants who previously
submitted a Final Claim will have their claim reviewed on a priority basis.

51. How long do I have to apply for a Full Review Final Payment?

You may submit a Full Review Final Payment Claim at any time prior to the close of
the GCCF Program on August 22, 2013 (even if you have previously submitted and
received an Emergency Advance Payment or an Interim Payment). You may accept
only one Final Payment.

52. Where will my Full Review Final Payment be sent?

The GCCF will send Final Payments by a check mailed to you. You will indicate in
the Full Review Final Payment Claim Form where your check is to be sent.

53. What can I do if I disagree with the GCCF's decision on my claim?

For all claims other than those for physical injury, if you disagree with the GCCF’s
decision on your claim, or if the GCCF has not acted on your claim within 90 days of
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the date the claim was presented under the OPA to BP or to the GCCF, you may
submit the claim to the National Pollution Funds Center (“NPFC”), the Coast Guard
office responsible for evaluating and approving OPA claims or as an alternative you
may file a claim in court, including in the multidistrict litigation pending before the
United States District Court for the Eastern District of Louisiana, titled, In re Oil Spill
by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL
No. 2179. The multidistrict litigation is a consolidated grouping of federal law suits
arising out of the Spill. If you are represented by an attorney, confer with your
attorney about your options. General information on the procedure for filing a claim
with the NPFC may be obtained from the Director of the National Pollution Funds
Center, NPFC MS 7100, U.S. Coast Guard, 4200 Wilson Blvd., Suite 1000,
Arlington, VA 20598-7100, (800) 280-7118, or from the NPFC website
at www.uscg.mil/npfc/claims. Information regarding the multidistrict litigation may
be obtained from the court’s website at www.laed.uscourts.gov. A claim for physical
injury is not a claim under OPA and therefore cannot be submitted to the NPFC.

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SECTION 6 – INFORMATION ON INTERIM PAYMENT CLAIMS




54. What is an Interim Payment Claim?

An Interim Payment Claim is a claim only for documented past damages caused by
the Spill. An Interim Payment is not an Emergency Advance Payment.

55. How do I apply for an Interim Payment?

You have to fill out, sign and send back to the GCCF an Interim Payment Claim
Form, along with documents to support your claim if you have not previously
submitted those documents. If you previously submitted an Emergency Advance
Payment Claim to the GCCF, the GCCF will mail you a packet containing the Interim
Payment Claim Form. If you do not get that packet, see Section 8 – How to File a Full
Review Final Payment Claim or an Interim Payment Claim for the steps on how to get
the Full Review Final Payment Claim Form and how to submit it to the GCCF.
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56. I have already submitted a Final Claim. Can I now submit an Interim Claim?

If you have already submitted to the GCCF a Claim Form in which you asserted a
Final Payment Claim and now would like to switch and seek an Interim Payment
instead, you must submit an Interim Payment Claim Form to the GCCF and check the
appropriate box on the first page of the Claim Form stating that you previously filed a
Final Claim Form and now wish to file an Interim Payment Claim. You cannot seek or
receive an Interim Payment unless you have submitted an Interim Payment Claim
Form to the GCCF.

57. What kind of claims can I make on an Interim Payment Claim?

If you suffered damages or injuries caused by the Spill and are eligible to apply for a
Full Review Final Payment, you can submit an Interim Payment Claim for the same
types of claims for which Claimants could seek Emergency Advance Payments:
Removal and Clean Up Costs, Damage to Real or Personal Property, Lost Earnings or
Profits, Loss of Subsistence Use of Natural Resources (Individuals only), or Physical
Injury or Death (Individuals only).

58. What kind of losses will be paid on an Interim Payment Claim?

An Interim Payment will cover only past losses caused by the Spill. An Interim
Payment will not compensate you for future losses or damages. For future losses or
damages to be evaluated and paid, you must submit a Full Review Final Payment
Claim. If you have submitted an Interim Payment Claim, you may submit a
subsequent Full Review Final Payment Claim. If appropriate, the GCCF will adjust
the calculation of a previously paid Emergency Advance Payment and include any
additional compensation as part of the Interim Payment.

59. How often can I apply for an Interim Payment?

You may submit an Interim Payment Claim only once each quarter of each calendar
year throughout the duration of the GCCF Claims Program which concludes on
August 22, 2013, or until the submission of either a Quick Payment Final Claim or a
Full Review Final Payment Claim. The first quarter begins now and concludes on
March 31, 2011. Subsequent quarters will be April 1 through June 30, July 1 through
September 30, and October 1 through December 31 of each year.

60. I have a financial situation that does not allow me to wait until the next
quarter to file my next Interim Claim. What can I do?
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If you have a financial situation that requires immediate action and you cannot wait
until the next quarter to file your next Interim Claim, you should file your next Interim
Claim with the GCCF and explain your financial situation.

61. What period of time is covered by an Interim Payment Claim?

Evaluation of your Interim Payment Claim consists of a review of your losses
measured over the period that begins with the Spill and concludes at the end of the
month for which you have provided the most recent actual financial data (“Loss
Measurement Period”).

62. Do I have to submit documents to be paid an Interim Payment?

Yes. You must provide supporting documentation to demonstrate all past losses and
damages sustained as a result of the Spill. The Gulf Coast Claims Facility Document
Requirements accompanying the Claim Form identify the supporting documents
required for each type of claim. If you previously submitted a claim with supporting
documentation, you do not need to resubmit that documentation. However, you must
supplement and update your documentation already on file with the GCCF to include
the applicable Loss Measurement Period. If you have not previously submitted a
claim, you must provide complete substantiation and documentation to support your
claim for losses and damages. If you qualify, your Interim Payment will include
payments only for the losses that the documents you have submitted prove. For
example, if you submit a claim for past Lost Earnings or Profits and do not submit the
records to show income during any week or period since the Spill, you will not be
paid any damages for that period.

63. What if my claim is missing any documents needed to prove my Interim
Payment Claim?

If you fail to submit the required documents to prove your losses or injuries, you will
not be paid for them in an Interim Payment. The GCCF will not send any deficiency
notices to you to notify you of any documents missing from your file. Instead, your
losses will be determined solely on the basis of the documents you have submitted.

64. Will any deductions be taken out of my Interim Payment?

Yes. The same deductions that apply to a Full Review Final Payment Claim apply to
an Interim Payment Claim:

   1. Any prior payments to you by BP, the GCCF, or the Coast Guard will be
      deducted from your Interim Payment.
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   2. If you make a claim for Lost Individual Earnings, any amounts you have
      received from unemployment compensation, as severance pay or any other
      employment benefit since the Spill, will be counted as income to you since the
      Spill and will reduce any award for past earnings losses.
   3. On any Lost Income claim from an Individual Claimant or a Business
      Claimant, amounts you have received since the Spill from any insurance or
      other program as replacement income will be deducted from your Interim
      Payment.
   4. Payments from insurance for the losses on injuries for which you seek benefits
      on Removal and Clean Up Costs, Damage to Real or Personal Property, Loss of
      Subsistence Use of Natural Resources, or Physical Injury or Death will be
      deducted from Interim Payment.
   5. Amounts to pay any legally authorized liens, garnishments or other attachments
      against you that the GCCF has received will be deducted from your Interim
      Payment.

However, amounts you have received from charities will not be deducted from your
Interim Payment.

65. Do I have to sign a Release to be paid an Interim Payment?

No. To receive an Interim Payment, you will not be required to execute a Release or
waive any rights to assert additional claims, to submit an individual legal action, or to
participate in other legal actions associated with the Spill.

66. How long will it take for me to get an Interim Payment?

Within 90 days of receipt of a substantiated claim for an Interim Payment, the GCCF
will evaluate and review the submitted documentation. The GCCF will mail you
notice of your eligibility and calculated amount for payment of your Interim Payment
Claim.

67. If I qualify for an Interim Payment, can I decide to be paid a Quick
Payment?

Yes. You can accept a Quick Payment any time after you have been found eligible for
or have been paid an Interim Payment.

68. If I am paid an Interim Payment, can I still submit a Full Review Final
Payment Claim?
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Yes. You can submit a Full Review Final Payment Claim at any time until the
Program closes.

69. If I qualify for an Interim Payment, will I receive a Final Payment Offer?

You will receive notice of your eligibility and calculated amount for payment of your
Interim Payment Claim. At the same time, if the documents you have submitted
permit the GCCF to do so, the GCCF also will provide you with the GCCF’s current
valuation and Final Payment Offer for your claim; you will have the option to
continue with the Interim Payment Claim process or to accept the GCCF’s Final
Payment Offer.

70. If I receive both an Interim Payment Offer and a Final Payment Offer and
decide to accept the Interim Payment, is there a chance that my Final Payment
Offer could go down?

Yes. If you make a subsequent claim for a Final Payment, the GCCF’s valuation and
Final Payment Offer for your claim may change at a later date to reflect additional
information and less uncertainty regarding damages.

71. How long do I have to apply for an Interim Payment?

You may submit an Interim Payment Claim at any time prior to the close of the GCCF
Program on August 22, 2013.

72. Where will my Interim Payment be sent?

The GCCF will send Interim Payments by a check mailed to you. You will indicate in
the Interim Payment Claim Form where your check is to be sent.

73. Will the awards be subject to Federal estate or Federal income tax?

The GCCF will report payments made annually to federal and state taxing authorities,
using a Form 1099 or state form equivalent. The GCCF will send you a copy of that
form, but cannot give you tax advice regarding any payment issued to you. For
additional information from the Internal Revenue Service concerning reporting
payments from the GCCF, click here. However, you should consult your own tax
advisor to determine the impact of any payment you receive from the GCCF on your
individual tax situation.

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SECTION 7 - WHO MAY FILE A CLAIM




74. Who is an Eligible Claimant?

Individuals and Businesses that have incurred damages as a result of the Spill may
submit a claim to the GCCF for Removal and Clean Up Costs, Damage to Real or
Personal Property, Lost Earnings or Profits, Loss of Subsistence Use of Natural
Resources, or Physical Injury or Death.

75. Do I have to live in the Gulf region to make a claim?

No. You do not have to live in the Gulf region to file a claim for costs and damages
incurred as a result of the oil discharges from the Spill. However, the GCCF will only
pay for harm or damage that is proximately caused by the Spill.

76. Do I have to be a United States citizen or have proof of legal residency to be
eligible to receive payment from the GCCF?

No, you do not need to be a United States citizen or submit proof of legal residency to
be eligible to receive a payment under the GCCF eligibility criteria.

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SECTION 8 - HOW TO FILE A FULL REVIEW FINAL PAYMENT CLAIM
OR AN INTERIM PAYMENT CLAIM




77. If I did not receive one in the mail from the GCCF, how do I get the Claim
Form I need?
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You can obtain and submit a Claim Form and supporting documentation in any one of
the following ways:

   1. Through the Website: You can complete a Claim Form on this website by
      clicking on the appropriate online filing tab on the left side of the Home Page.
      The online instructions will tell you how to complete the correct Claim Form
      and how to submit the form and the supporting documents online. You can also
      download a Claim Form or request that a Claim Form be mailed to you by
      clicking on the tab, “File a Paper Interim or Full Review Final Claim Form.”
   2. By Visiting a GCCF Claims Site Office: You can complete a Claim Form and
      submit documents in person at one of the GCCF Claims Site Offices, where a
      Claims Evaluator will help you fill out the form. You may obtain a list of the
      GCCF Claims Site Offices near you by clicking here.
   3. By Telephone: You can get a Claim Form by calling the GCCF toll free
      number, 1-800-916-4893. TTY: 1-866-682-1758. Staff members are available
      to take your call at this number from 9:00 a.m. to 6:00 p.m. (Eastern Time),
      Monday through Friday. You will be asked for your name and address. The
      GCCF will mail you a Claim Form for you to fill out and sign.

78. Are Claim Forms available in other languages?

Yes. Claim Forms are available in Spanish, Vietnamese and Khmer. To access these
Claim Forms, visit: www.GulfCoastClaimsFacility.com. For additional assistance call
the Toll Free Number 1-800-916-4893.

79. Where do I submit the Claim Form when complete?

You can submit your Claim Form and supporting documents in one of these ways:

   1. By Regular Mail:

      Gulf Coast Claims Facility
      Kenneth R. Feinberg, Administrator
      P.O. Box 9658
      Dublin, OH 43017-4958
   2. By Overnight, Certified or Registered Mail:

      Gulf Coast Claims Facility
      Kenneth R. Feinberg, Administrator
      5151 Blazer Pkwy.
      Suite A
      Dublin, OH 43017
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   3. By Fax: You can fax your completed Claim Form and documents to the GCCF
      at 1-866-682-1772. However, a signed Release cannot be submitted by Fax. We
      must receive an original signed copy of a Release.
   4. By Email: You can scan your completed Claim Form and documents and email
      PDF files to the GCCF at info@gccf-claims.com. However, a signed Release
      cannot be submitted by email. We must receive an original signed copy of a
      Release.

80. Does it cost anything to file a claim?

No. There is no fee for filing a claim with the GCCF.

81. Can I submit photographs or videos in support of my claim?

Yes. You can submit photographs and videos in support of your claim.

82. What if I need more space to write on the Claim Form?

If you need additional space for one or more of the sections in the Claim Form,
photocopy the section before completing it and make as many copies as you need.
You must attach these copies to your Claim Form. Include your name, address and
Claimant Identification Number on all pages you submit. If you do not have a
Claimant Identification Number, include your Social Security Number or Employer
Identification Number on all pages you submit.

83. How will I know that the GCCF has received my claim?

You will receive a confirmation from the GCCF that will confirm your claim
submission and tell you the unique 7-digit Claimant Identification Number that is
assigned to your claim. The GCCF will enter for processing all submitted Claim
Forms, regardless of the method of submission, into the GCCF central database.

84. How do I submit supplemental information for a claim I already filed?

Make sure you provide your Claimant Identification Number along with any
supplemental information you submit. You may submit supplemental information in
the following ways:

   1. By Visiting a GCCF Claims Site Office: You can submit supplemental
      information to a Claims Evaluator at any of the GCCF Claims Site Offices.
      You may obtain a list of the GCCF Claims Site Offices near you by
      clicking here.
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   2. By Regular Mail: You may submit supplemental information by U.S. Mail to
      the following address:

      Gulf Coast Claims Facility
      Kenneth R. Feinberg, Administrator
      P.O. Box 9658
      Dublin, OH 43017-4958
   3. By Overnight, Certified or Registered Mail: You may submit supplemental
      information by Overnight, Certified or Registered Mail to the following
      address:

      Gulf Coast Claims Facility
      Kenneth R. Feinberg, Administrator
      5151 Blazer Pkwy.
      Suite A
      Dublin, OH 43017
   4. By Fax: You may fax supplemental information to 1-866-682-1772.
   5. By Email: You may submit supplemental information in a PDF file to the
      GCCF at info@gccf-claims.com.

85. Can someone else talk to the GCCF about my claim?

Yes, as follows:

   1. If you are represented by a lawyer. If you are represented by a lawyer, the
      GCCF will communicate with your lawyer rather than directly with you. You
      should identify your lawyer on the Claim Form.
   2. If you have an Authorized Legal Representative. An Authorized Legal
      Representative is a person who is authorized to act for a deceased person who
      was affected by the Spill, or for a person affected by the Spill who is unable to
      act for himself or herself. The Authorized Legal Representative must submit to
      the GCCF a copy of the paperwork that shows the authority to act on behalf of
      a person affected by the Spill, such as a power of attorney, an order appointing
      a guardian, letters testamentary or letters of administration for an estate.

86. Can I recover from the GCCF the expenses I incurred for getting an
accountant to estimate the damages for my claim?

Yes. You can recover the reasonable costs you incurred for having a professional
assess your damages. This will include reasonable fees you paid to an accountant to
estimate your damages.
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The GCCF will also pay the reasonable costs incurred by the claimant in assessing the
damages claimed on any claim receiving a damages payment. Please click here to
view the GCCF Policy on Claim Preparation and Assessment Fees.

87. Are the fees attorneys can charge limited by law or the GCCF?

Attorneys' fees are not limited by the GCCF. If you want to know whether there any
are restrictions on attorneys' fees in your jurisdiction, contact a local bar association.

88. I received a call from an individual from Guidepost who explained that he
was assisting GCCF in confirming information submitted in my Claim Form.
Who is Guidepost and what is its role in the claims process?

Guidepost has been retained by the GCCF to assist GCCF in auditing and monitoring
claims. Guidepost may be calling claimants or other parties to ask for confirmation of
information or documentation submitted by a claimant. Any information received by
Guidepost is subject to the same privacy policy that applies to other information
submitted to the GCCF.

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SECTION 9 – INFORMATION ON PAYMENTS




89. What is the 6% Court ordered holdback?

A consolidated grouping of all federal law suits arising out of the Spill is pending
before the United States District Court for the Eastern District of Louisiana. This
litigation is referred to as the “multidistrict litigation” and is titled, In re Oil Spill by
the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No.
2179. The Court on December 28, 2011 ordered the GCCF to withhold 6% of any and
all amounts determined to be paid to eligible GCCF claimants and to deposit these
amounts into a Court supervised Escrow Account. The purpose of the Escrow
Account is to establish a fund from which common benefit litigation fees and
expenses may be paid to the Plaintiff Steering Committee and other lead or liaison
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plaintiff counsel if and as awarded by the Court, at an appropriate time, pursuant to
procedures to be determined by future order of the Court.

90. Will my payment be subject to the 6% Court Ordered Holdback?

The Court ordered 6% hold-back will be applied to all interim, final and quick pay
payments (and payments for claim preparation and assessment fees) made to all
claimants who were not issued a payment determination letter from the GCCF dated
on or before December 30, 2011.

The 6% hold-back will be applied to all Quick Pay Claims received that are
postmarked after December 30, 2011.

The 6% hold-back does not apply to settlement payment offers (interim or final) made
to claimants with a determination letter dated on or before December 30, 2011.

91. Can I receive payment at the Claims Site Office?

No. Payments will be issued through one central payment distribution center and will
be sent to Claimants through the United States Postal Service's First Class mail.

92. Can I receive my payment through direct deposit?

No. You may not elect to receive your payment as a wire transfer directly to your
bank account. The GCCF will no longer honor existing claimant requests for a wire in
the Method of Payment section of the claim form, nor will the GCCF honor requests
to reissue checks or convert check payments to a wire. Similarly, the GCCF will no
longer honor requests to change wire instructions that were previously provided (for
example, if the claimant has changed banks). Instead, the GCCF will send a check to
the claimant, at the address we have on file, or in the case of reissued checks, the
GCCF will stop payment on the check that was previously sent out and then mail out a
new check.

There is only one circumstance under which wire payments will be issued. If a
claimant is represented by an attorney, the GCCF will honor wire instructions
provided on the claim form, a written request by the representing attorney to reissue a
check as a wire payment, to convert the claimant’s method of payment from a check
to a wire, or to change wire instructions, if the wire is to be made to the escrow or
IOLTA (trust) account of the representing attorney’s law firm.

93. In what ways can I elect to receive payment?
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You can elect to receive payment by check. If you are represented by an attorney, the
attorney may elect to receive wire payments to his or her escrow or IOLTA (trust)
account, as set forth above.

94. Can payments be made through direct deposit to foreign banks?

No.

95. Can direct deposit payments be made to money market or brokerage
accounts?

No.

96. If I elect to receive my payment by check, how will it be sent to me?

Your payment will be sent through the United States Postal Service's First Class mail.

97. Where will I be able to cash my check?

If you do not have your own bank account, the GCCF has made arrangements with
Whitney National Bank for check-cashing services. Whitney National Bank has
branches located throughout the affected region. If you are an Individual and not a
Business, and you do not have your own bank account, you may go to any branch of
Whitney National Bank and cash up to $5,000 of your payment in one day. (No fee
will be charged by Whitney National Bank for this service.)

Please note that on June 4th, 2011, Hancock Holding Company acquired Whitney
Holding Corporation. As a result of the merger, Hancock Holding Company is now
the parent company of two banks: Hancock Bank, headquartered in Gulfport,
Mississippi and Whitney Bank, headquartered in New Orleans, Louisiana. Gulf Coast
Claims Facility checks for the Deepwater Horizon oil spill can be cashed Whitney
Bank locations in Texas, Louisiana, Alabama and Florida, as well as Hancock Bank
locations along Mississippi’s Gulf Coast. As of September 16, 2011, Mississippi
Hancock Bank branches will accept Whitney National Bank checks. Please
click herefor location information to find the Whitney Bank or Hancock Bank location
that is most convenient for you.

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SECTION 10 – INFORMATION ON CLAIM TYPES




98. For what Claim Types will the GCCF provide compensation?

The GCCF will provide compensation to qualifying Claimants for the following
Claim Types:

   1. Removal and Clean Up Costs;
   2. Damages to Real or Personal Property;
   3. Lost Earnings or Profits;
   4. Loss of Subsistence Use of Natural Resources;
   5. Physical Injury or Death.

99. What are Removal and Clean Up Costs?

Removal and Clean Up costs are costs that result from actions you took to prevent,
minimize, mitigate or clean up damages or anticipated damages from the Spill.

100. What is Real Property?

Real Property is land and buildings, houses, or objects affixed or attached to the land.

101. What are damages to Real Property?

Damages include any physical injury or damage to the Real Property.

102. What is Personal Property?

Personal Property is equipment, boats, cars, furniture, or objects not affixed or
attached to the land and any property not considered real property.

103. What are damages to Personal Property?

Damages include any physical injury or damage to the Personal Property.

104. What are Lost Earnings?

Lost Earnings occur when you experience a loss of or reduction in your ability to earn
wages or income because of the Spill. If you were unable to engage in your normal
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job because of the Spill or made less money than usual because of the Spill, you may
have experienced Lost Earnings.

105. What are Lost Profits?

Lost Profits are loss of income or profits by a Business. If your Business experienced
a temporary or permanent loss or reduction in profits due to the Spill, you can make a
claim for Lost Profits. Your Business may also have experienced Lost Profits if it was
forced to operate under different conditions than those that existed prior to the Spill.

106. What is Loss of Subsistence Use of a Natural Resource?

Loss of Subsistence Use of a Natural Resource is when an Individual or Business can
no longer use a natural resource to obtain food, shelter, clothing, medicine or other
minimum necessities of life because the natural resource has been injured, destroyed
or lost because of the Spill. For example, an Individual who uses fish or other wildlife
for food but can no longer do so because of the Spill may file a Loss of Subsistence
Use claim.

107. What is a Physical Injury?

A physical injury is an injury to the body proximately caused by the Spill or the
explosion and fire associated with the Deepwater Horizon incident, or by the cleanup
of the Spill. An injury that relates to emotional or mental health is not a physical
injury and is not an eligible claim.

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SECTION 11 – INFORMATION ON SUBSISTENCE CLAIMS




108. Is the GCCF paying claims for loss of subsistence?

Yes. The GCCF pays subsistence claims to claimants who can demonstrate reliance
on natural resources that were affected by the Spill to obtain food, shelter, clothing,
medicine or other minimum necessities of life. This includes commercial fishermen
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who hold back a portion of their catch for subsistence use as well as some non-
commercial fishermen.

109. Are recreational fisherman eligible for loss of subsistence?

No. Those who fish for sport or claim loss of use or enjoyment are not eligible
subsistence claimants. Subsistence is defined as necessary to support life.

110. What documentation is required for a subsistence claim?

Claimants should provide photographs, affidavits, witness statements, or other
documents identifying the affected natural resource used by the claimant before the
Spill and proving that the claimant used and relied upon that resource for the
claimant’s subsistence, and copies of receipts or other verifications of expenditures to
replace the natural resources previously relied upon for subsistence.

111. How are subsistence losses calculated by the GCCF?

Subsistence claims are processed by specialized teams working out of the local site
offices in each of the states. These teams employ field interviews and verifications
and refer to available consumption studies when evaluating claims. The measure of
the loss is generally based on average 2010 pre-spill retail and/or wholesale values for
the lost catch. Lost catch used for Personal/Family Consumption is valued at average
pre-Spill 2010 retail values. Lost catch used for Bartering/Community Distribution is
valued at average pre-Spill 2010 wholesale values.

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SECTION 12 – INFORMATION ON CASINO WORKER CLAIMS




112. Are casino workers eligible for lost earnings due to the Spill?

Yes. Casino workers who can document losses due to the Oil Spill will be
compensated by the GCCF.
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113. What documentation is required to calculate lost earnings for casino
workers?

The GCCF requires casino workers to provide complete financial records
documenting all wages earned at the casino in 2008, 2009 and 2010. You may satisfy
this requirement by providing year-end tax documents, complete payroll records from
1/1/2008 through 12/31/2010, or a letter from your employer stating your annual
earnings or explaining any missing periods in your records. If the GCCF does not
have all the documents from you needed to be able to evaluate your claim, the GCCF
will send you a deficiency notice telling you what is missing and giving you a period
of time to submit those documents.

114. How are 2010 earnings projected for casino workers?

The GCCF projects 2010 earnings by calculating your average annual wages earned at
the casino in 2008 and 2009.

115. How are 2010 losses calculated for casino workers?

The GCCF calculates 2010 losses that occurred after the Oil Spill. The GCCF
calculates your May through December 2010 Projected Earnings by averaging your
2008 and 2009 annual earnings and then multiplying that average by 66.67% to
apportion for the eight months of potential earnings after the Spill (May–December).
The GCCF then subtracts your May through December 2010 actual earnings from this
projection to determine your total 2010 losses.

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SECTION 13 – RELATIONSHIP BETWEEN THE GCCF AND
MULTIDISTRICT LITIGATION (“MDL”)




116. I have submitted a Short Form in MDL 2179 in the United States District
Court for the Eastern District of Louisiana. Does filing the Short Form mean
that I cannot proceed with my claim in the GCCF?
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No. The federal lawsuit is separate from the claims process in the GCCF. You may
pursue your claim with the GCCF even if you have filed the Short Form in the MDL
proceedings.

117. If I accept a Final Claim Offer or a Quick Pay from the GCCF and sign a
release, will that affect my claim in the MDL proceedings against BP and the
other defendants?

Yes. If you accept a Final Claim Offer or Quick Pay and sign a release, you will
release and waive any claims that you have or may have in the future against BP and
all other potentially responsible parties with regard to the Spill or to submit any claim
for payment to the National Pollution Funds Center, the Coast Guard office
responsible for evaluating and approving Oil Pollution Act claims, or in Court.

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SECTION 14 – APPEALS OF FINAL CLAIM DETERMINATIONS




118. What are the requirements for a claimant to file an appeal with the GCCF?

In order to file an appeal with the GCCF, your Final Claim determination (including
any Emergency, Interim or Final Payment made by BP or the GCCF) must exceed
$250,000.

In addition, in certain specific cases the Claims Administrator may grant a right of
appeal if he concludes either: (1) the claim determination presents an issue of first
impression under the Oil Pollution Act; or (2) the claim determination is inconsistent
with prior legal precedent under OPA and the claim is likely to be representative of a
larger category of claims to be considered by the GCCF.

119. How do I file an appeal with the GCCF?

All appeals must be presented to the GCCF in writing either by hard copy or in
electronic form. If you want to file an appeal you should download a form by
clicking here, and submit the form in one of three ways: (1) by electronic mail
to info@gccf-claims.com; (2) with the assistance of GCCF representatives at a Claims
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Site Office; or (3) by mailing a hard copy of the form via U.S. Mail to the GCCF
intake center in Dublin, OH. Each appeal must include a Statement of Issues
explaining the basis of your appeal and relief requested.

120. When can I file an appeal with the GCCF?

Your Determination Letter contains a date of issue. The deadline to file an appeal is
14 days from the date of issue on your Determination Letter. Your appeal will be
timely if filed electronically or in person at a Claims Site Office by the deadline. If
you file the appeal in hard copy, it will be timely if the appeal is post-marked or
received by the deadline.

121. May I request a Re-Review of my Final Claim and how does that affect my
appeal?

All claimants are entitled to request a Re-Review of a Final Claim. The GCCF has
determined that when a claimant has filed a request for Re-Review of a Final Claim,
the fourteen (14) day deadline for filing an appeal will run from the date of
notification of the GCCF's determination of the Re-Review. If a claimant does not file
a request for a Re-Review of a Final Claim, the fourteen (14) day deadline for filing
an appeal will run from the date of notification of the GCCF's Final Determination.

122. Can BP appeal my Final Claim Determination?

Yes, BP may appeal a Final Claim Determination of the GCCF if a total monetary
award (including any Emergency, Interim or Final Payment made by BP or the
GCCF) is in excess of $500,000.

In addition, in certain specific cases the Claims Administrator may grant a right of
appeal if he concludes either: (1) the claim determination presents an issue of first
impression under the Oil Pollution Act; or (2) the claim determination is inconsistent
with prior legal precedent under OPA and the claim is likely to be representative of a
larger category of claims to be considered by the GCCF.

123. Will I be notified if BP files an appeal of my claim determination?

Yes, the GCCF will inform you if BP files an appeal. You will receive a letter
notifying you of BP’s decision to appeal and explaining your rights in the appeal
process.

124. Who decides the appeals?
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All appeals will be decided by a three person, impartial Panel of Appeals Judges.

125. Will my claim file be disclosed if I file an appeal?

Yes. If you decide to appeal your claim, you will need to approve disclosure of your
claim file to both BP and the assigned Panel of Appeals Judges. For any claim that is
appealed by BP, the Claims Administrator will release only such information from the
claim file as is necessary for BP to evaluate the decision and a decision by the Panel
of Appeals Judges.

126. Who selects the Panel of Appeals Judges?

The Claims Administrator appointed Jack M. Weiss of Louisiana as the Appointing
Authority to select the appeals judges who will hear limited appeals from claims
decisions made by the GCCF. Mr. Weiss has served since 2007 as Chancellor of the
Louisiana State University Paul M. Hebert Law Center in Baton Rouge.

127. Who did Mr. Weiss select as the GCCF Appeals Judges?

Mr. Weiss has appointed GCCF Appeals Judges for each of the four states (Alabama,
Florida, Louisiana, and Mississippi) from which a large majority of claims have arisen
for alleged costs and damages incurred as a result of the Spill. Each GCCF Appeals
Judge appointed is a distinguished member of the legal community and either a
current resident of the state from which he or she is appointed or has a substantial
professional, academic, or personal connection to that state.

128. Can I submit my claim to the Coast Guard or file a suit in court while I am
waiting for my appeals decision?

No. Once an appeal begins, you may not submit a claim to the Coast Guard, or file a
claim in court, until the appeal is either decided or withdrawn.

129. Will I be notified of the appeals decision?

Yes, you will receive a Post-Appeal Final Claim determination. The Post-Appeal
Final Claim determination shall be valid for 90 days, during which time you may
accept the determination, sign the Release and Covenant Not to Sue and receive the
GCCF payment approved by the three Judge Panel. If you choose not to accept the
Post-Appeal Final Claim determination, you may submit your claim to the National
Pollution Funds Center (“NPFC”), the Coast Guard office responsible for evaluating
and approving OPA claims or as an alternative you may file a claim in court,
including in the multidistrict litigation pending before the United States District Court
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for the Eastern District of Louisiana, titled, In re Oil Spill by the Oil Rig “Deepwater
Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179. The multidistrict
litigation is a consolidated grouping of federal law suits arising out of the Spill.
General information on the procedure for filing a claim with the NPFC may be
obtained from the Director of the National Pollution Funds Center, NPFC MS 7100,
U.S. Coast Guard, 4200 Wilson Blvd., Suite 1000, Arlington, VA 20598-7100, (800)
280-7118, or from the NPFC website at www.uscg.mil/npfc/claims. Information
regarding the multidistrict litigation may be obtained from the court’s website
at www.laed.uscourts.gov. A claim for physical injury is not a claim under OPA and
therefore cannot be submitted to the NPFC.

130. Is the appeal decision final?

Any decision of the Panel of Appeals Judges shall be deemed final as to BP only. If
you do not agree with the decision of the Panel of Appeals Judges, you may reject the
GCCF determination and submit your claim to the NPFC or you may file a claim in
court.

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SECTION 15 – CLAIMANT BILL OF RIGHTS




131. You have the right to equal treatment.

You have the right to be treated with respect, dignity, and fairness, without regard to
your race, color, sexual orientation, national origin, religion, gender, or disability.

132. You have the right to equal access to the claims process.

If you have a disability, the Gulf Coast Claims Facility ("GCCF") will make
reasonable accommodations in order for you to access the services of the GCCF.

If you have difficulty communicating in English, the GCCF will provide translation
services for you to communicate about the claims process with the GCCF.
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If you have difficulty reading or writing, the GCCF will endeavor to explain all
documents and forms in a plain and simple manner, and assist you in filing a claim
form.

133. You have the right to privacy.

Your submitted personal information will be kept secure by the GCCF and will only
be used and disclosed for legitimate purposes in connection with administering the
GCCF.

134. You have the right to information about your claim.

You can meet with a member of the GCCF staff to ask any questions you have about
the claims process. Once you have filed a claim with the GCCF, you have the right to
check the status of that claim by calling the toll-free number (1-800-916-4893 (TTY
1-866-682-1758)), visiting the GCCF's internet site,
www.GulfCoastClaimsFacility.com, or visiting a GCCF office in person. (A list of
site offices is available by phone or on-line.)

135. You have the right to a fair review and determination of your claim.

The GCCF Claims Evaluator will consider all properly submitted evidence that you
provide to prove your loss.

136. You have the right to a timely claim decision.

The GCCF will issue a timely determination of your claim. If the GCCF needs
additional information in order to decide your claim, the GCCF will notify you in a
timely manner of the request for additional information.

137. You have the right to timely payment.

If you qualify for a payment, you will be paid promptly.

138. You have the right to ethical treatment.

All representatives of the GCCF will act ethically and in good faith.

139. You have the right to be represented by an attorney of your choosing.

You have the right to be represented by an attorney of your choosing and to consult
with that attorney before accepting any settlement or signing a release of legal rights.
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